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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                            SAVANNAH DIVISION


THE UNITED STATES OF AMERICA,                       )
                                                    )
                      Plaintiff,                    )
v.                                                  )       4:19cr106-1
                                                    )
ALEXANDER PUJOLS,                                   )
                                                    )
        Defendant.                                  )


                                           ORDER


       Counsel in the above-captioned case have advised the Court that all pretrial motions have

been complied with and/or that all matters raised in the parties’ motions have been resolved by

agreement. Therefore, a hearing in this case is deemed unnecessary. All pretrial motions filed on

behalf of the defendant, Alexander Pujols, are DISMISSED.

       The motion hearing set for December 5, 2019 at 9:30 a.m. is CANCELED.

       SO ORDERED, this 3rd day of December 2019.




                                             ______________________________
                                             _______________________________
                                             CHRISTOPHER
                                             CHRISTOPHP ER L. RAY
                                             UNITED STATES MAGISTRATE JUDGE
                                             SOUTHERN DISTRICT OF GEORGIA
